Case 2:12-cv-02439-RRM-JO Document 50 Filed 11/07/13 Page 1 of 1 PageID #: 1294


 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ANDREW OSTROWSKY,

                          Plaintiff,                                   MEMORANDUM & ORDER
                                                                         12-CV-2439 (RRM) (JO)
             - against -

  DEPARTMENT OF EDUCATION OF NYC,
  et al.,

                          Defendants.
 -----------------------------------------------------------X
 ROSLYNN R. MAUSKOPF, United States District Judge.

          By an Order dated April 2, 2013, this Court referred defendants’ motions to dismiss for
 failure to state a claim to the assigned Magistrate Judge for a Report and Recommendation
 (“R&R”). On August 8, 2013, Magistrate Judge Orenstein issued an R&R recommending that
 the Court grant the defendants’ motions and dismiss with prejudice all of plaintiff’s claims.
 Magistrate Judge Orenstein reminded the parties that, pursuant to Rule 72(b), any objections to
 the R&R were due September 16, 2013. On September 25, 2013, the Court granted plaintiff’s
 request to extend the time to file objections until November 4, 2013. No objections have been
 filed.
          Pursuant to 28 U.S.C. § 636(b) and Federal Rule of Civil Procedure 72, the Court has

 reviewed the R&R for clear error and, finding none, concurs with the R&R in its entirety. See

 Covey v. Simonton, 481 F.Supp.2d 224, 226 (E.D.N.Y. 2007).

          Accordingly, it is hereby ORDERED that defendants’ motions are granted and all of

 plaintiff’s claims are dismissed with prejudice. The Clerk of Court is directed to enter judgment

 accordingly, and close this case.

                                                     SO ORDERED.



 Dated: Brooklyn, New York                                      Roslynn R. Mauskopf
        November 7, 2013                                        ____________________________________
                                                                ROSLYNN R. MAUSKOPF
                                                                United States District Judge
